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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

LAS AMERICAS IMMIGRANT                         :
ADVOCACY CENTER, et al.,                       :
                                               :
        Plaintiffs,                            :       Civil Action No.:     24-1702 (RC)
                                               :
        v.                                     :       Re Document Nos.:     23, 45
                                               :
U.S. DEPARTMENT OF HOMELAND                    :
SECURITY, et al.,                              :
                                               :
        Defendants.                            :

                                           ORDER

GRANTING IN PART AND DENYING IN PART PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT;

  GRANTING IN PART AND DENYING IN PART DEFENDANTS’ CROSS-MOTION FOR SUMMARY

                                          JUDGMENT


        For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Plaintiffs’ motion for summary judgment (ECF No. 23) is

GRANTED IN PART AND DENIED IN PART; and Defendants’ cross-motion for summary

judgment (ECF No. 45) is GRANTED IN PART AND DENIED IN PART. It is hereby:

        ORDERED that the Final Rule’s limitation on asylum eligibility be vacated and set

aside; and it is

        FURTHER ORDERED that the Final Rule’s manifestation of fear requirement be

vacated and set aside; and it is

        FURTHER ORDERED that the Guidance’s four-hour consultation window be vacated

and set aside; and it is
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       FURTHER ORDERED that, given the Court’s holding on severability, the provisions

of the Final Rule not mentioned in this Order remain in effect; and that it is

       FURTHER ORDERED that the individual Plaintiffs’ removal orders and negative

credible fear determinations be vacated.



       SO ORDERED.


Dated: May 9, 2025                                                 RUDOLPH CONTRERAS
                                                                   United States District Judge




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